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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

R.F. Technologies, Inc., et al.
                                       Plaintiff,
v.                                                        Case No.: 1:17−cv−01886
                                                          Honorable Sara L. Ellis
Thomas O'Leary, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 1, 2019:


        MINUTE entry before the Honorable Sara L. Ellis: Status hearing held. Counsel
appeared and reported to the Court that the parties have reached a resolution and need
time to finalize it. Status hearing set for 9/19/2019 at 1:30 p.m. Mailed notice (mw, )




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